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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

               v.
                                                         Magistrate No. 21-10
       KHALED MIAH
                                                         [UNDER SEAL]




                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Ahmad Hassanpoor, being duly sworn, hereby depose and state the following:

       I.      INTRODUCTION

       1.      This affidavit is made in support of a criminal complaint charging KHALED MIAH

(“MIAH”) with Interstate Threatening Communications in violation of Title 18, United States

Code, Section 875(c), Influencing, Impeding or Retaliating against a Federal Law Enforcement

Officer, in violation of Title 18, United States Code, Section 115(a)(1)(B) and Destruction of

Records in a Federal Investigation in violation of Title 18, United States Code, Section 1519.

       2.      I have served as a Federal Bureau of Investigation (“FBI”) Special Agent since

March 2020. As a Special Agent with the FBI, I am an “investigative or law enforcement officer”

of the United States within the meaning of Title 18, United States Code, Section 2510(7); that is,

an officer of the United States who is empowered by law to conduct investigations of and to make

arrests for offenses enumerated in Title 18, United States Code, Section 2516.

       3.       I am currently assigned to the Joint Terrorism Task Force (“JTTF”) in the FBI’s

Pittsburgh Division. In this capacity, I am charged with investigating possible violations of federal

criminal law. By virtue of my FBI employment, I perform and have performed a variety of



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investigative tasks, including functioning as a case agent on international terrorism investigations.

I have received training and have gained experience in the conduct of counterterrorism

investigations, the execution of federal search warrants and seizures and arrest warrants, and the

identification and collection of computer-related evidence.

       4.      The facts set forth in this affidavit are based on my personal knowledge, the

knowledge obtained during my participation in this investigation, the knowledge obtained from

other individuals, including other law enforcement personnel, review of documents and computer

records related to this investigation, communications with others who have personal knowledge of

the events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the criminal complaint, this affidavit does not set forth each and every fact that

I have learned during the course of this investigation.

       II.     STATUTORY VIOLATIONS

       5.      Title 18, United States Code, Section 875(c) criminalizes the interstate transmission

of a threat to injure. Title 18, United States Code, 115(a)(1)(B), criminalizes threats to assault a

federal law enforcement officer with the intent to impede, intimidate, or interfere with such law

enforcement officer while engaged in the performance of official duties, or with intent to retaliate

against such law enforcement officer on account of the performace of official duties.

       6.      According to Title 18, United States Code, Section 1519, it is a crime to knowingly

alter, destroy, mutilate, conceal, cover up, falsify, or make a false entry in any records, document

or tangible object, with the intent to impede, obstruct, or influence the investigation or proper

administration of any matter within the jurisdiction of any department or agency of the United

States, or in relation to or contemplation of any such matter or case.



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       III.    PROBABLE CAUSE

       A.      MIAH Threats Directed to FBI and Agents

       7.      The allegations in this criminal complaint pertain to recent threatening acts using

electronic communication services by MIAH, who resides in the Western District of Pennsylvania,

as well as a continuing course of conduct by MIAH in an effort to threaten, harass, impede,

intimidate and retaliate against federal investigating law enforcement officers and their family

members and to obstruct and impede the federal investigation into his actions. While some of the

actions described in this affidavit relate to very recent conduct, other actions have occurred in the

course of the investigation of MIAH by the FBI.

       8.      In or around December 2020, FBI personnel identified a publicly visible Twitter

account created by MIAH. This account was created on or about December 19, 2020 and is

identified by the display name “Federal Intelligence Service” and the username @ServiceFederal.

From the date of its creation to on or about January 1, 2021, @ServiceFederal had tweeted

approximately 31 times excluding the tweets subsequently deleted by MIAH. On January 1, 2021

at or about 10:45 p.m., through open source research, FBI Pittsburgh discovered that this Twitter

account was altered to reflect the new display name “TRUMP2020” and the new username

@IslamIsEvil2021. According to business records provided on January 4, 2021 by Twitter, Inc.

(“Twitter”), an interactive social media platform based in San Francisco, California, , this Twitter

account was created on December 19, 2020 with the unique user identification (“UID”)

                         and it now reflects the aforementioned alterations. According to the same

business records, this Twitter account is registered to the phone number                         On

January 4, 2021, FBI Pittsburgh interviewed the former property manager of MIAH’s residence,

who confirmed that MIAH had used phone number                         to communicate with him on



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December 31, 2020. The business records from Twitter also revealed that the same IP address

used to create @ServiceFederal was also used to access several of MIAH’s known social

networking and mobile messaging accounts since he moved to his current residence in mid-2020.

As of January 1, 2021, Twitter reflects that the username @ServiceFederal account “doesn’t exist”

and that the @IslamIsEvil2021 Twitter account is protected and only visible to its followers. As

described in detail below, prior to its alteration, MIAH used this Twitter account to threaten,

intimidate and harass FBI Pittsburgh Agents and the FBI.




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        9.       On or about December 27, 2020 at approximately 1:28 p.m., MIAH posted the

following statements through the @ServiceFederal Twitter account:




Based upon the investigation of MIAH to date, the FBI assesses that by referring to watching

“videos of the second plane hit the south tower,” MIAH is referring to the coordinated Al-Qaeda

terrorist attacks of September 11, 2001, at which time two commercial airplanes were hijacked

and crashed into the North and South towers of the World Trade Center in New York City. As a

result, the North and South towers ultimately burned and collapsed causing the deaths of more

than 2900 people. 1

        10.      Based upon the investigation to date, the FBI also assesses that by referring to

“Nick, Dave, Mike and the whole bureau,” MIAH was making specific and direct reference to

those Pittsburgh FBI agents and JTTF task force members who had been conducting the

investigation of his activities, as well as the entire Federal Bureau of Investigation. MIAH

communicated that “the deed will be done” via Twitter, an interactive social media platform based



1
 The coordinated attacks were perpetrated by 19 Al-Qaeda members who hijacked four domestic passenger
airplanes and crashed them into pre-determined targets, resulting in the deaths of 2,997 people in New York City,
Washington, D.C., and Shanksville, Pennsylvania.

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in San Francisco, California.

       11.     After posting the statements on December 27, 2020, with full knowledge of the FBI

investigation into his conduct, MIAH subsequently deleted those posts by December 28, 2020,

which had the effect of impeding, obstructing, and influencing the investigation or proper

administration of any matter within the jurisdiction of the Federal Bureau of Investigation, which

is a department or agency of the United States.

       12.      On December 28, 2020, December 29, 2020 and December 30, 2020, MIAH

posted the following additional statements on the @ServiceFederal Twitter account.




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       13.     The coordinates posted by MIAH on Twitter on December 29, 2020, an interactive

social media platform based in San Francisco, California, resolve to the FBI Headquarters Building

located at


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       14.     Based upon the investigation to date, the FBI assesses that by communicating that

“the zero hour is approaching” via Twitter, MIAH intentionally conveyed a threat to injure others

in interstate commerce. Further, by posting the specific coordinates to the FBI Headquarters in

Washington, D.C., it is reasonable to infer that MIAH intentionally conveyed a specific threat

target to the investigating FBI agents. Finally, by posting “Rasheed, Dave, Nick, Mike…how’s

your investigation going? Things are looking “bright” in 2021” MIAH is again making specific,

personal reference to the investigating federal law enforcement officers.

       15.     On December 30, 2020, at approximately 5:43 a.m., MIAH posted from his

@ServiceFederal Twitter account: “2001-2021 is 20 years. An entire generation, yet men like me

still exist and pop up into existence. Next time you come in cowboy with the crew, the hardwood

will collapse beneath your feet.” It reasonable to infer that MIAH is again referring to the terrorist

attack of September 11, 2001 and drawing an analogy between those actors and “men like [MIAH]

me.” Based upon the investigation to date, the FBI assesses that by stating “[n]ext time you come

in cowboy with the crew, the hardwood will collapse beneath your feet,” MIAH is referencing the

search warrant executed at his residence by FBI on October 9, 2020, and threatening that the

hardwood floor will collapse (by intention or sabotage) should FBI attempt to execute another

search warrant or action at his residence.




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       16.     On December 31, 2020, MIAH posted the following on his @ServiceFederal

Twitter account:




Based upon the investigation to date, the FBI assesses that by referring to “yellow tapes will flow”,


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MIAH is making specific reference to a crime scene by referring to yellow crime scene tape.

        B.       FBI Investigation of MIAH

        17.      In or around January 2019, the FBI received an online tip that a YouTube user with

the display name “Blitz Kreig” 2 had posted comments threatening bodily harm to another

YouTube user and alluding to a potential violent attack in the United States. According to business

records provided to the FBI by Google, the parent company of YouTube, in or around February

2019, YouTube account “Blitz Kreig” is associated with the Google e-mail address

                                 and the unique external ID                                             From in

or around November 2018 to January 2019, including on or about the same day that “Blitz Kreig”

posted the aforementioned comments,                                                connected to several IP

addresses that resolve to the University of Pittsburgh (“Pitt”), located in Pittsburgh, Pennsylvania.

According to University records provided to the FBI by Pitt in or around April 2019, all of the IP

address connections in question were linked to the username “khm21” and the corresponding e-

mail address                       , a Pitt student account belonging to MIAH.

        18.       According to Department of Homeland Security information, MIAH, who was

born on or about                        in Sylhet, Bangladesh, was admitted to the United States with

other members of his family on an immigrant visa in or around March 2003. MIAH subsequently

derived U.S. citizenship in or around August 2009. Since moving to the United States, MIAH has

lived in the Pittsburgh metropolitan area. MIAH was enrolled at Pitt an as undergraduate student

until December 2020 and has resided at a house located near Pitt’s campus, although he maintains

a mailing address at his mother’s residence in the Pittsburgh area.



2
  Based on open source research, your affiant is aware that the term “blitzkrieg” is commonly used to reference an
intense attack and/or bombardment. It is a term commonly used to describe Nazi Germany’s heavy bombardment of
France during World War II.

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       19.     In or around April 2019, an FBI Task Force Officer (“Task Force Officer A”)

attempted to locate and interview MIAH regarding his YouTube comments. While trying to locate

MIAH at his mother’s residence, Task Force Officer A interviewed two of MIAH’s siblings, who

indicated that MIAH did not get along with most of his family and rarely interacted with them.

Despite multiple attempted calls and visits to MIAH’s residence, Task Force Officer A was unable

to make contact with MIAH.

       20.     After additional investigation and legal process, on or about September 28, 2020,

FBI Special Agent A, Supervisory Special Agent A, and other agents and task force officers

(collectively, the “Agents”) attempted to interview MIAH concerning reports FBI received of his

online activity and accounts. Upon being advised of the FBI investigation, MIAH was

uncooperative, erratic, and provocative in his interactions with the Agents. He ultimately refused

to engage in any substantive discussion.

       21.     Later that evening, MIAH traveled to the FBI Pittsburgh Field Office, located at

                                                           and engaged security personnel in the

guard post outside the front gate. MIAH expressed a desire to file a complaint for harassment and

was told to return the following day during business hours. Simultaneously, an FBI Special Agent

who was not involved in the investigation into MIAH was departing the FBI premises in his vehicle

through the front gate. Shortly thereafter, the Special Agent saw MIAH’s car approach at a high

rate of speed to pull in the lane next to the Agent. The Special Agent observed MIAH as the sole

occupant of his car and noted that MIAH had a black face covering and baseball cap. MIAH

subsequently made a number of aggressive driving maneuvers in order to cut off another vehicle

and pull closely behind the Agent. Agent observed that MIAH followed the Agent’s vehicle for

multiple turns, eventually pulling next to the Agent’s vehicle and attempted what appeared to be



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taking photo of the Agent. MIAH then drove away from the Agent’s vehicle in a different direction

than the Agent was heading. In the course of this event, the Agent recorded MIAH’s license plate

and eventually affirmed through communications with the FBI Pittsburgh Field Office that MIAH

was under investigation by the FBI and had been contacted by other Agents earlier that evening.

       22.    The following day, on or about September 29, 2020, an FBI Supervisory Special

Agent (“Supervisory Special Agent A”) contacted MIAH via telephone to inquire about MIAH’s

“complaint” and to attempt to discuss unresolved questions from the previous day. After a lengthy

discussion, MIAH agreed to travel to the FBI Pittsburgh Field Office to meet. Supervisory Special

Agent A, Special Agent A, and Task Force Officer B met MIAH outside the front gate and agreed

to speak with MIAH outside the designated interviewing room after he claimed claustrophobia.

MIAH appeared to be aware that the FBI was concerned about some of his previously described

Internet activity. After affirming some basic biographical information and engaging in general

background discussion, MIAH declined to engage in any substantive discussion about his Internet

threats, even when presented with a screenshot of his aforementioned YouTube threatening

communications. MIAH, instead, responded, “I cannot confirm or deny at the moment,” in

response to several questions about specific accounts. The interview subsequently concluded, and

Special Agent A provided MIAH with his business card, reiterated his desire to resolve any

misunderstandings, and encouraged MIAH to re-contact the FBI either himself or through counsel.

       23.    On or about September 30, 2020, the Agents interviewed a long-time associate of

MIAH’s (“Associate A”). Associate A described MIAH as mentally unstable and attracted to a

violent Islamic ideology. For example, Associate A described how MIAH approved of the actions

of Dzhokhar Tsarnaev, who committed the deadly Boston Marathon bombing in 2013, and Omar

Mateen, who killed approximately 50 people at the Pulse Nightclub in Orlando, Florida, in 2016.



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MIAH also expressed approval for the use of rape against non-Muslims. According to Associate

A, in approximately 2017, he visited MIAH at his apartment and found opened shotgun shells in

plain view. MIAH had expressed an interest in guns to Associate A, and sometime prior to 2018,

MIAH asked Associate A to purchase firearms for him on his behalf.

        24.     On or about October 5, 2020, a review by FBI agents of several of MIAH’s Twitter

accounts, revealed material changes and deletions, such as changes to profile pictures, display

names, and the location of his account. Numerous tweets associated with MIAH’s accounts had

been deleted.

        25.     On or about October 8, 2020, it was discovered by FBI that MIAH had altered the

outward facing profile photograph on one of his known Twitter accounts to depict a photograph

of Special Agent A’s wife (“Victim A”) and changed the display name from “@Lügenpresse” to

“@[Victim A’s first name]presse.” The biographical information on MIAH’s account was also

modified to include the actual place of work of Victim A, her educational background, and her

approximate age, hair color, religion, and original hometown in the United States, as well as crude

and sexual comments related to Special Agent A and Victim A. 3 Additionally, during the morning

of October 8, 2020, MIAH Tweeted the following message from @Lugenpresse_: “White

Supremacy, European Cultural Supremacy is a great evil. Unfortunately, far too many adherents

of this hateful ideology have infiltrated government and its agencies.” This Tweet, which MIAH

subsequently “pinned” to the top of the account, was presumed to be an allegation by MIAH that

Special Agent A was a white supremacist.

        26.     Upon studying the modified Twitter account, Special Agent A concluded that

MIAH must have surveilled multiple sources and locations online and must have obtained the


3
 MIAH has no basis to know Victim A by name, photograph, or personal information. Special Agent A did not and
would not have conveyed personal information in the course of two interviews with MIAH.

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photograph of Victim A and biographical information from multiple online locations. Specifically,

the photograph of Victim A was observed to be cropped from a photograph that originally included

Special Agent A and other family members in close proximity. While MIAH must have surveilled

and accessed multiple sources to collect the photograph and information about Special Agent A

and Victim A, the information appeared to be publicly available.

       27.        On or about October 9, 2020, a federal search warrant signed by United States

Magistrate Judge Lisa Pupo Lenihan in the Western District of Pennsylvania authorized the search

of MIAH’s residence and seizure of his electronic devices in furtherance of an FBI investigation

into MIAH’s cyberstalking behavior over Twitter. While MIAH’s residence was being searched,

he was interviewed by FBI Agents. During the interview, MIAH admitted that he had researched

Special Agent A and Victim A online, and that he had used Victim A’s photo and information to

alter his Twitter account. In doing so, MIAH acknowledged that it was wrong of him to post this

content online.

       28.        Pursuant to execution of the aforementioned search warrant by the FBI Pittsburgh

JTTF at MIAH’s residence, seven electronic devices belonging to MIAH were seized. Upon initial

review of the seized devices, FBI personnel determined that, from on or about September 28, 2020,

through on or about October 8, 2020, MIAH had used his devices to conduct dozens of open source

queries of search terms associated with Task Force Officer B, Special Agent A, Victim A, the FBI,

lying to federal agents, and terrorism. In addition to the information about Victim A that MIAH

posted to Twitter account @Lugenpresse_ on or about October 8, 2020, MIAH also sent four

photographs of Special Agent A and Victim A to Associate A via WhatsApp on or about

September 30, 2020, along with the following message: “That’s him..his wife..and his closer

friends. It’s all public information now along with his credentials, shield number, listened [sic]



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plays [sic] numver [sic], make model and year of his personal car and his agency issued cruiser.

Also his location of residence is also public.” These four images, as well as several others related

to Special Agent A and Victim A, were stored on MIAH’s iPhone.

       29.      On or about November 10, 2020, United States Magistrate Judge Maureen P. Kelly

in the Western District of Pennsylvania authorized the search of MIAH’s Apple iCloud account

Apple iCloud account with the unique directory services identifier (“DSID”)                     and

the Apple ID                         stored at premises owned, maintained, controlled, or operated

by Apple, Inc. (“Apple”), a company headquartered in Cupertino, California.

       30.      According to FBI surveillance, MIAH is believed to have intentionally conducted

reconnaissance of Special Agent A’s residence on multiple occasions subsequent to the September

2020 attempted interview of MIAH by the FBI. For instance, on or about the morning of

November 6, 2020, MIAH’s vehicle drove around Special Agent A’s apartment building and

parked at a cemetery directly across the street from Special Agent A’s apartment building for

approximately 10 minutes before leaving the area. Notably, Special Agent A’s residence is not

within the typical routes that MIAH has been observed taking by FBI personnel dating back several

months.      As previously mentioned, MIAH had indicated to Associate A in WhatsApp

communications on or about September 30, 2020 that he had researched Special Agent A’s home

address online. During the evening of that same day, MIAH drove from Pittsburgh to Washington,

D.C., arriving shortly before midnight. According to FBI surveillance, MIAH spent the next

several hours driving around and parking near major landmarks, including the White House and

the Capitol Building. Later that evening, MIAH returned to Pittsburgh and MIAH drove out of

his normal route and in the vicinity of Special Agent A’s residence before returning to his typical




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route. MIAH repeated this behavior yet again during or about the evening of November 20, 2020. 4

        31.      The FBI is aware that MIAH’s vehicle was located in the immediate vicinity of the

FBI Pittsburgh Field Office, located at                                                                              ,

on at least eleven (11) occasions, many of these trips were around middle of nights, between

November 1, 2020 and January 3, 2021. Notably, FBI Pittsburgh Field Office is not within the

typical routes that MIAH has been observed taking by FBI personnel dating back several months.

        C.       MIAH’s Original Twitter Accounts and Deletions

        32.      In the course of investigating MIAH’s online activities, the FBI identified a mobile

phone     number      and multiple e-mail            addresses—in        addition to       the aforementioned

                                 and                      —that were operated by MIAH and were used by

MIAH to register numerous social networking and mobile messaging accounts, including three

separate Twitter accounts: @AbuUmarSinai, @Lugenpresse_, and @QassamSol. After FBI

Pittsburgh JTTF Agents executed a federal search warrant at MIAH’s residence on October 09,

2020, all three of these Twitter accounts were deactivated and/or deleted entirely.

        33.      Twitter account @AbuUmarSinai was identified by the unique user identification

number (“UID”)                                  and the display name “Abu Umar.” Prior to being deleted

or deactivated, @AbuUmarSinai was a publicly visible Twitter account. As of or about September

27, 2020, the profile picture for @AbuUmarSinai appeared to be a crest featuring the English

words “Tawheed is our pride” along with an image of Arabic script that is believed to represent

the Islamic shahada, or declaration of faith. 5



4
  In reviewing the content from MIAH’s iCloud account, FBI personnel found an audio file from in or around
November 2017 in which MIAH can be heard stating the following in an aggressive tone: “This is me conducting
surveillance on your house. I’m coming for you, motherfucker!” It is not known who MIAH was targeting in this
particular instance or why he was surveilling someone else.
5
  Based on training and experience, your Affiant is aware that “tawheed” is a variant of the Arabic word “tawhid,”
which means “oneness of God.” Tawhid is the single most important concept of Islam and is part of the Islamic

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         34.      On or about May 31, 2018, MIAH, through @AbuUmarSinai, Tweeted the

following: “The Crusaders divided the Levant into 4, we will reunite them into a single state

#dawlatulwahidda. Today the armies of the cross have gathered in the land of Islam, so in return

we have gathered in their towns and cities. Close your eyes and act. Victory is given in Ramadan.”

The Tweet was accompanied by a map of the Levant, or the term used to describe the area in the

Middle East that includes present-day Syria, Jordan, Lebanon, Palestine, Israel, and part of Turkey.

         35.      On or about May 31, 2018, MIAH, through @AbuUmarSinai, Tweeted the

following: “‘The last hour will not come until you fight the Jews,you [sic] the [sic] the east of the

river and they to the west,until [sic] the trees and stones cry out, ‘O Muslim O servant of Allah,

there is a jew behind me come and slaughter him’-Sahih Al Bkhari [sic]. The river is the border

of Jordan/Israel[.]” The Tweet was accompanied by a map of Jordan and its bordering countries

in the Middle East.

         36.      On or about May 31, 2018, MIAH, through @AbuUmarSinai, Tweeted the

following: “The greatest transaction to take place on Allah's earth is the exchange of 19 for 2,997.”

The FBI assesses that MIAH used this Tweet to express support for the aforementioned terrorist

attacks coordinated and carried out by al-Qaeda, a designated foreign terrorist organization, against

multiple targets in the United States on September 11, 2001.

         37.      Twitter     account     @Lugenpresse_          was     identified     by    the    unique     UID

                            and the display name “Lügenpresse.” Prior to being deleted or deactivated,

@Lugenpresse_ was a publicly visible Twitter account. Until MIAH modified the profile picture

to represent Victim A, Special Agent A’s wife some time in approximately October 2020, the

profile picture for @Lugenpresse_ appeared to be the international peace symbol with a red


shahada, which is one of the five pillars of Islam. The shahada contains two parts, which translate to “There is no
god but Allah” and “Mohammed is the messenger of Allah.”

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“prohibited” icon superimposed over the peace symbol.

       38.     On or about May 25, 2019, MIAH, through @Lugenpresse, replied directly to a

Tweet from the verified Twitter account of a prominent Shi’ite imam and Islamic reformer with

the following: “Salam Aleikium Imam. I would like to have a meeting with you in a skit in our

documentary we are making. If there is anyway [sic] you can present yourself within 2500yard

[sic] range anywhere it will suffice. The Tactical Units will take care of the rest.” The original

Tweet to which MIAH, through @Lugenpresse, responded was not available to view.

       39.     Twitter    account   @QassamSol      was    identified   by   the   unique    UID

                         and the display name “AriHsw.” Prior to being deleted or deactivated,

@QassamSol was a protected Twitter account, meaning that only approved followers of the

account could see its Tweets, replies, likes, followers, and following. Therefore, the FBI was

unable to access any of the content for @QassamSol or view any of MIAH’s activities using the

account. As of on about September 27, 2020, @QassamSol had approximately 445 Tweets, was

followed by approximately six other accounts, was following approximately 14 other accounts,

and had a listed location of “Aleppo,” presumably a reference to Aleppo, Syria.

       40.     The profile picture for @QassamSol appeared to be a self-photograph of a male

matching the physical description of MIAH who was wearing a face covering, a skull cap,

sunglasses, headphones, camouflage combat fatigues, and a bulletproof vest and holding a white

Apple iPhone. The cover photograph for @QassamSol appeared to be a group of soldiers standing

in a line while carrying spears and shields with Arabic script written on them. Based on a

comparison of business records provided to the FBI in or around May 2019 and again in or around

June 2020, MIAH is believed to have changed the username from the previous @Miah_K009 to




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@QassamSol at some point during that period. 6 Although the Tweets for @QassamSol were not

visible, FBI personnel utilized a reverse search function on Twitter to identify approximately 32

replies to Tweets made by MIAH, through @QassamSol, from in or around December 2016 to in

or around July 2017. 7 Notably, some of the replies make specific references to Islam, firearms,

and violence.

        41.      On or about October 5, 2020, after the second attempted interview of MIAH by FBI

on or about September 29, 2020, MIAH changed the outward facing profile photograph, the

background cover photograph, the display name, and the location of his Twitter account

@QassamSol. He also reduced the number of accounts that @QassamSol was following to one

and the number of accounts it was being followed by to zero. Furthermore, MIAH appeared to

have deleted approximately 15 Tweets from @QassamSol, as the total Tweet count from on or

about September 27, 2020 was reduced from approximately 445 to approximately 430.

        42.      On or about October 27, 2020, your Affiant served a search warrant to Twitter for

the full content associated with account @QassamSol. Despite having been issued a preservation

request that was still valid at that time, Twitter responded that it no longer possessed the contents

of @QassamSol subsequent to its deletion by MIAH. Therefore, the FBI was unable to obtain the

content of this Twitter account for purposes of the investigation.

        D.       MIAH’s Pattern of Dangerous Conduct

        43.      During the course of its investigation, the FBI Pittsburgh JTTF also discovered that

MIAH often frequented a Pittsburgh-area shooting range throughout the summer months of 2020.


6
  It is not known why MIAH chose the username @QassamSol, but the FBI assesses that @QassamSol is a possible
reference to Qasem Soleimani, the former Iranian general and Commander of the Iranian Islamic Revolutionary
Guard Corps – Qods Force who was killed in or around January 2020 in a targeted air strike by the U.S.
government.
7
  Since no other replies to Tweets made by MIAH, through @QassamSol, are visible after July 2017, it is possible
that MIAH adjusted the security settings such that @QassamSol became a protected account in July 2017 or shortly
thereafter.

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According to information provided to the FBI by that shooting range, MIAH rented both rifles and

pistols and practiced shooting on numerous occasions from on or about June 30, 2020 to on or

about September 28, 2020. In addition to the instances in which he used the range, MIAH was

observed by FBI personnel looking at various firearms in the shooting range’s store on multiple

occasions during the same period.

       44.     MIAH was surveilled by FBI on more than one occasion traveling to the shooting

range during October and November of 2020, but not apparently entering. Most recently, MIAH

was observed traveling to and entering the shooting range on December 27, 2020 and could be

seen looking at airsoft rifles, shooting gloves and scopes.

       45.     MIAH’s electronic devices seized by the FBI on October 9, 2020 contained dozens

of photographs and videos taken of unsuspecting females both in public and private settings.

MIAH’s search history in or around October 2020 also revealed numerous searches related to

voyeurism and hidden cameras embedded in household items. MIAH’s historical WhatsApp

communications with various associates also revealed his views towards race, religion, women,

violence, and ideology, as indicated by the sampling of statements below:

  •   July 31, 2020: “The mosque requires we bring a prayer rug. I only have a isis flag. Can I
      borrow your Turkish flag to use as a prayer mat?”

  •   August 2, 2020: “Your last act is what counts the most. Pray JUMMA and blow yourself up
      for Allah and you will be Muslim forever.”

  •   August 2, 2020: “I’m always armed. And surveil the zone before. I don’t reveal information
      bout [sic] myself to anyone anymore.”

  •   August 19, 2020: “I would never in 1 million years Fuck a Muslim virgin girl, because that’s
      the wife of my Muslim brother. But non Muslims girls is a rampage. It’s my duty. ‘ I seek
      nothing but to slaughter my enemies, conquer his land and enjoy his women’. – Gengis
      Khan ( Real Alpha).”

  •   September 11, 2020: “Allah Akbar. Allah Akbar.”


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       46.     Furthermore, FBI personnel uncovered hundreds of videos, images, documents,

communications, and Internet activities dating back several years related to extremist content that

advocated for and/or glorified gruesome violence against perceived ideological enemies. This

content included authentic ISIS propaganda videos and documents, extensive research of the

Tsarnaev brothers, Omar Mateen, and other terrorists, and communications and self-recordings by

MIAH that exhibited his ideological beliefs and support for violence. For example, in a private

WhatsApp conversation with a long-time associate (“Associate B”) on or about October 30, 2019,

MIAH sent a three-second video clip of what is presumed to be himself following a female dressed

in a military uniform on or in the vicinity of Pitt’s campus. The video file was accompanied by

the following title: “Revenge for Baghdadi. I been following her for 10 minutes.” Approximately

six minutes later, Associate B responded, “Hey stop sending me this shit this is serious.”

       47.     Notably, FBI personnel also discovered from review of the electronic devices that

MIAH apparently idealized the Boston Marathon Bombers, Tamerlan and Dzhokhar Tsarnaev, as

evidenced in part through his personal travel. In or around August 2020, MIAH traveled by car to

the East Coast to visit Boston, New York, and Washington, D.C. Prior to leaving, he wrote out

specific landmarks in each city to visit and took photos of the agendas with his iPad. As part of

his Boston itinerary, MIAH included several landmarks relevant to the Boston Marathon

bombings, including where each of the two bombings took place, where the Tsarnaev brothers

participated in a violent shootout with local police, and even the gym where Tamerlan Tsarnaev

previously trained in mixed martial arts. MIAH documented his intention and acts through his

agendas as well as multiple images that appear to depict MIAH at the aforementioned gym

patronized by Tamerlan Tsarnaev.

       48.     A review of MIAH’s iCloud account provided further evidence of MIAH’s



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longstanding extremist ideology, attraction to violence, and animosity towards law enforcement.

For example, MIAH recorded several video and audio clips in which he consumes ISIS propaganda

on his computer and openly praises the terrorist organization, encourages ISIS overtaking

European and U.S. cities, praises the killing of Sufi Muslims in Egypt, indicates the need to take

action himself, and pretends to shoot a police officer using his finger as he passes by in his vehicle.

Additionally, in or around July 2017, MIAH took a photograph of a personal timeline dating back

to 2010 that includes items such as “Osama death,” 8 “discovery of Jihad,” “radicalization,” “deep

radicalization,” “seclusion,” “realization of purpose,” and “ISIS.” The iCloud account also

revealed MIAH’s open intention to obfuscate his activities and evade detection by law

enforcement. In a note dated on or about April 16, 2020, MIAH wrote, “Replace Sim card to for

[sic] FBI surveillance.” In a separate note dated on or about May 6, 2020 and titled “Outstanding

Goals,” MIAH included “toss SIM card” on his list of items.




8
 Your Affiant believes that “Osama” is a reference to Osama bin Laden, the previous leader of al-Qaeda who was
killed by U.S. military forces in or around May 2011.

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       49.   The iCloud account further evidences MIAH’s interest in homemade explosives.

The following images of homemade explosives and firearms were located on MIAH’s iCloud

account:




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        E.       MIAH’s November 2020 Twitter Accounts Used to Impede, Intimidate and

        Retaliate Against Agents

        50.      In or around November 2020, FBI personnel identified two new publicly visible

Twitter accounts that MIAH had created after the seizure of his electronic devices on or about

October 9, 2020. Both accounts consist of a large volume of Tweets that include profane and

intentionally provocative statements, references to the seizure of his devices and the ongoing FBI

investigation. The first Twitter account, which MIAH created on or about October 22, 2020, is

identified by the display name “FishingExpedition” and the username @54marienstrasse. 9 From

the date of account creation to on or about November 15, 2020, @54marienstrasse had tweeted at

least 167 times. The second Twitter account, which MIAH created on or about November 16,

2020, is identified by the display name “ItsKhaledBruh” and the username @BruhKhaled. From

the date of account creation to on or about December 4, 2020, @BruhKhaled had Tweeted at least

196 times. 10 According to business records provided to the FBI by Twitter, both of the above

accounts are attributable to the phone number                               which is believed to have been

activated subsequent to the execution of aforementioned federal search warrant of MIAH’s

residence on October 9, 2020. Additionally, both accounts were created using the same IP address

that was used to create the aforementioned Twitter account @ServiceFederal. Further, the

@54marienstrasse account references MIAH’s university (“pitt.edu”) in its caption and refers

specifically to the cyberstalking statute referenced in the FBI warrant of MIAH’s residence on

October 9, 2020. The @BruhKhaled account has a photograph that your Affiant recognizes as

MIAH and also references his university “@Pitt 20”. On or about January 1, 2021, both Twitter


9
  Your Affiant is aware that this username is a reference to the Hamburg, Germany address that was previously used
by multiple of the hijackers involved in the September 11 terrorist attacks.
10
   This count is inclusive of Tweets that MIAH has since deleted from Twitter account @BruhKhaled but were
identified by FBI personnel prior to deletion.

                                                       25
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accounts were deleted and/or deactivated.




       51.    Notably, prior to the deletion and/or deactivation, MIAH used both of the above

Twitter accounts to target FBI Pittsburgh Special Agents with language intended to intimidate and

harass. He frequently mentioned Supervisory Special Agent A and Special Agent A by name and


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Tweeted statements indicating that he researched both of their personal lives, including specific

references to Supervisory Special Agent A’s prior profession and current city and Special Agent

A’s wife, siblings, hometown, and education, including the following examples:

  •   November 10: “Unfortunately, you can’t unlearn and unknow people. I know who you
      are…..forever.”

  •   November 12: “I don’t believe in violence. But I do believe in offending people. The law is
      the law [Special Agent A]. Too bad. We both know each other’s secrets.”

  •   November 14: “Let me be clear again, FBI Special Agent [Supervisory Special Agent A] of
      [current city], a former [prior occupation] turned Muslim hunter, is a coward.”

  •   November 14: “Hey [Special Agent A], wanna have an orgy? You, me and ……her?”

  •   November 17: “[Special Agent A’s sister’s name] !!!”

  •   November 18: “I never forget a face, nor a name, nor the clan, this jurisdiction or another,
      it’s never over.”

  •   November 18: “Cyber footprint is as thick as blood. The entire clan is a [sic] intel jackpot.”

  •   November 18: “I prefer a [Special Agent A’s sister’s occupation] over a [Victim A’s
      occupation] #thewholeclan.”

  •   November 23: “New Idea for a TV comedy show: Let’s call it [Special Agent A] and
      [Special Agent A’s brother’s name].”

  •   November 25: “Yeah this kid named [Special Agent A] who is a closet racist who works
      for the FBI in Pittsburgh basically created a terrorist by giving him all the materials to
      carry out murder then right before it happens he’s like ‘gotcha’ affidavit time. [Special
      Agent A]’s whole family are a bunch of leeches.”

  •   November 25: “‘If your [sic] looking for a radical, well there’s this guy named…….(pay
      me $1 million in gold bullions) first, and let me fuck your boys girl’. Obviously I'm not
      gonna pull out.”

  •   November 25: “[Initials of Special Agent A, his brother, his wife, and his sister] –Suck my
      balls.”

  •   November 26: “[Special Agent A’s sister’s name].”

  •   November 26: “That [reference to Victim A’s hair color] is so fucking retarded looking. I
      hate her face.”

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     •    November 26: “[Special Agent A’s sister] is actually good looking. Your wife is trash.
          [References to Victim A’s employment and education].” 11

     •    November 27: “This idiot once asked me about my family members. He asked ‘we know a
          couple’ and ‘we’d like to know more’. Now the shoe is on my foot mutherfucker [sic]. I’m
          not the only one that knows.”

     •    November 27: “The people that I know, the ones that are serious and dedicated, have zero
          cyber footprints. They are ghosts, and will be ghosts til the end. – Poetry”

     •    November 27: “I will definitely let Ankara know about [Special Agent A’s hometown].”

     •    November 28: “An agent. A [Special Agent A’s sister’s occupation]. A [Special Agent A’s
          father’s occupation]. A [derogatory reference to Special Agent A’s brother’s occupation].
          All in one clan.”

     •    December 2: “[Selfie of MIAH with Turkish flags superimposed on his cheeks and a thought
          bubble with the words “[Special Agent A] your [sic] a bitch !!!” 12

           52.     Furthermore, MIAH has repeatedly made unfounded allegations of white

supremacist views and improper professional conduct by Supervisory Special Agent A and Special

Agent A. For example, on or about November 10, 2020, using Twitter account @54marienstrasse,

MIAH Tweeted, “[Special Agent A] is a little weasel. His grandfather was prob Nazi Waffen SS.

Pussy face coward. His whole clan are bitch asses. Retarded wedding.” Additionally, on or about

November 27, 2020, using Twitter account @BruhKhaled, MIAH posted a video of himself

holding Special Agent A’s business card, dropping it into a toilet, and then urinating on it. The

video was accompanied by the caption, “White Supremacy has no place in the government.” The

following day, MIAH, through @BruhKhaled Tweeted, “Think about it this way, [Special Agent

A]. That card was in your wallet. Your wallet you take home with you everyday [sic]. You gave me

your card. It’s got your finger prints on it. I urinated on something that was once yours but now

its [sic] in the sewer. How does that make you feel? Your name I pee on.” In a Tweet he

11
     MIAH subsequently deleted this Tweet.
12
     MIAH subsequently deleted this Tweet.

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subsequently deleted, MIAH used @BruhKhaled to post the following conspiratorial message on

or about November 29, 2020: “‘On October 27th, 2018 #Pittsburgh #FBI Agent [Supervisory

Special Agent A] threw a birthday party for his colleague [Special Agent A]. While they were

neglecting their responsibilities at work, a white extremist entered the #TreeofLifeSynagogue and

killed 12 #jewish worshippers.’ BIG COVER UP!!!” MIAH has also used his Twitter accounts to

provoke law enforcement by Tweeting concerning comments such as “it’s go time. Today.;” “I’m

locked and loaded;” 13 “Thanks for giving me your cards. It’s gonna be valuable.;” and “Ima a

master of the dead drop.”

                                                IV.      CONCLUSION

        53.       Based on the aforementioned information, I respectfully submit that there is

probable cause to believe that KHALED MIAH issued the above interstate threatening

transmissions in violation of Title 18 U.S.C. § 875(c) over Twitter, an electronic communications

service located in San Franciso, California. There is also probable cause to believe that MIAH’s

threats of violence against law enforcement in retaliation for the FBI investigation of him violated

Title 18, United States Code, § 115(a)(1)(B), which criminalizes threats to assault a federal law

enforcement officer with the intent to impede, intimidate, or interfere with such law enforcement

officer while engaged in the performance of official duties, or with intent to retaliate against such

law enforcement officer on account of the performace of official duties.

        54.       Your affiant also submits that MIAH obstructed justice and deleted records in a

federal investigation by willfully and intentionally deleting and/or deactivating Twitter accounts

and messages subsequent to his September 28, 2020 and September 29, 2020 attempted interviews

with the FBI and the October 9, 2020 search of his residence in said investigation. This conduct


13
  Based on training and experience, your affiant is aware that a statement such as “locked and loaded” is often used
to indicate that a firearm is loaded with ammunition and is ready to fire at a target of choice.

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interfered with the FBI investigation, in violation of Title 18 U.S.C. § 1519.

       55.     The above information is true and correct to the best of my knowledge, information

and belief.



                                              /s/Ahmad Hassanpoor
                                              Special Agent
                                              Federal Bureau of Investigation



The Affiant attested to this Affidavit
By telephone pursuant to FRCP 4.1(b)(2)(A)
6th day of January, 2021.



_________________________________
CYNTHIA REED EDDY
Chief United States Magistrate Judge




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